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         1     JEREMY V. RICHARDS (CA SBN 102300)
               GAIL S. GREENWOOD (CA SBN 169939)
         2     PACHULSKI STANG ZIEHL & JONES LLP
               10100 Santa Monica Blvd., 13th Floor
         3     Los Angeles, CA 90067
               Telephone: 310/277-6910
         4     Facsimile: 3 10/201-07 60
               E-mail: jrichards@pszjlaw.com
         5              ggreenwood@pszj law.com

         6     Attorneys for Official Committee of Unsecured Creditors
               of Liberty Asset Management Corporation
         7

         8                                      UNITED STATES BANKRUPTCY COURT

         9                                       CENTRAL DISTRICT OF CALIFORNIA

        10                                              LOS ANGELES DIVISION

        11     In re:                                                    Case No.: 2:16-bk-13575-TD
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        12     LIBERTY ASSET MANAGEMENT                                  Chapter 11
"'0z           CORPORATION, a California corporation,
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        13                                                                Adv. No. 2:16-ap-01337-TD
:I:
                                           Debtor and
N"'     14                                 Debtor in Possession.         DECLARATION OF ERIC HELD IN
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 <                                                                       SUPPORT OF THE COMMITTEE'S
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(/)

:;;;    15                                                               MOTION FOR SUMMARY
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                                                                         ADJUDICATION OF DEFENDANTS'
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        16                                                               LIABILITY FOR BREACH OF
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"'"                                                                      FIDUCIARY DUTIES AND ACCOUNTING
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        18                                                               Date: December 15,2016
               OFFICIAL UNSECURED CREDITORS                              Time: 11:00 a.m.
        19     COMMITTEE FOR LIBERTY ASSET                               Place: Courtroom 1345
               MANAGEMENT CORPORATION,                                          255 E. Temple Street
        20                                                                      Los Angeles, CA 90012
                                           Plaintiff                     Judge Thomas B. Donovan
        21
                             vs.
        22
               LUCY GAO, an individual, and BENJAMIN
        23     KIRK, an individual,

        24                                 Defendants

        25

        26              I, Eric Held, declare as follows:

        27                         1.       I am a Managing Director of Development Specialists, Inc. ("DSI"), a national

        28     financial consulting firm that maintains offices in San Francisco, CA; Los Angeles, CA; New York,


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                NY; Miami, FL; Columbus, OH, and its headquarters at 70 West Madison, Suite 2300, Chicago, IL

            2   60602. My firm has extensive experience investigating and tracing cash receipts and disbursements;

            3   and providing forensic accounting services.

            4              2.       I submit this declaration in support of the Motion for Summary Adjudication of

            5   Defendants' Liability for Breach of Fiduciary Duty and Accounting (the "Motion") filed

            6   concurrently by the Committee. 1 Except as otherwise noted, I have personal knowledge of the

            7   matters set forth herein.

            8              3.       The Committee retained DSI as its financial advisor effective May 25, 2016. Our

            9   employment was approved by the Court's Order Approving Employment of Development Specialists,

           10   Inc. as Financial Advisor to the Official Committee of Creditors Holding Unsecured Claims Nunc

           11   Pro Tunc to May 25, 2016 [Dkt. No. 155] entered June 30,2016.
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"'"'z      12              4.       DSI conducted an evaluation and partial review of the electronic database of
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 _,        13   documents made available on the eDirect365 website (the "Database") by the Debtor's Chief
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N"'        14   Restructuring Officer as well as certain other bank account, tax and other documents (the "Other
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C/l
;;:        15   Documents") provided by the Debtor directly to counsel to the Official Unsecured Creditors
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           16   Committee for Liberty Asset Management Corporation ("Counsel"). For reasons set forth below,
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           17   the Database and the Other Documents do not provide a complete picture of the Debtor's financial

           18   affairs preceding the bankruptcy.

           19              5.       As of September 30,2016, the Database consisted of20,796 files. Ofthe 20,796 files

           20   in the Database, 11 ,087 files contain source metadata, including source file name and source folder

           21   path, from which one can attempt to learn about the nature and relevance of each file. DSI reviewed

           22   the list of 11,087 files containing metadata, flagged potentially relevant files for further review and

           23   reviewed the flagged files to identify relevant information. Ofthe 11,087 files, only 365 files

           24   contain a source file name or source folder name pertaining to the Debtor. The vast majority of

           25   these 365 files contain no relevant information for purposes of tracing receipt and disbursement of

           26   Debtor funds. Of the 11,087 files, the remaining 10,722 files are related to other entities affiliated

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                    Undefined capitalized terms contained in this declaration have the meaning ascribed to them in the Motion.
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                    with the Debtor ("Investment Entities"), but there is insufficient information to identify all of the

                2   Investment Entities and their respective assets and liabilities at a specific point in time.

                3           6.       Of the 20,796 files in the Database, the remaining 9,709 files appear to contain no

                4   source metadata to provide information about the nature and relevance of each file. The files must be

                5   reviewed on a one by one basis in order to determine their relevance. DSI segmented the 9,709 files

                6   into two categories: those files 1MB or larger in size and those smaller than 1MB in size. DSI

                7   reviewed over 1,100 files 1MB or larger in size and determined that the vast majority of these files

                8   contain no relevant information for purposes of tracing receipt and disbursement of Debtor funds.

                9   DSI did not review the majority of the files smaller than 1MB in size.

               10           7.       The Database allows users to tag files by subject. I am aware that 624 files were

               11   tagged as "QuickBook Files" by Michelle Cano of Legal Vision Consulting Group. DSI reviewed
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               12   each of the 624 files and determined that none of the files contain accounting records relating to the
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               13   Debtor and therefore contain insufficient information for purposes of tracing receipt and
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               14   disbursement of Debtor funds.
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  ;;:          15           8.       The Database is also searchable by document type. DSI separately conducted a
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""'u           16   search of documents by document type and identified 98 files with a QuickBooks file extension of
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               17   either *.QBB or *.QBW, each ofwhich contain source file metadata. DSI reviewed 50 of the 98

               18   QuickBooks files identified within the Database. The remaining files were deemed to be not

               19   relevant as they pertained to the Investment Entities or other parties. Of the 98 QuickBooks files,

               20   only three files represented the Debtor's accounting records, two of which are password protected

               21   and not reviewable by DSI. I am not aware that the user name and password have ever been

               22   provided by the Debtor in response to Counsel's request. The one Debtor-related QuickBooks file

               23   that is not password protected yields only four months of bank activity in 2011 for a single bank

               24   account ending in x764. The remaining 95 QuickBooks files are related to 47 Investment Entities or

               25   other parties, some of which containing certain activity which overlaps with the Debtor. I have not

               26   seen, however, a comprehensive set of accounting records related to the Debtor. The QuickBooks

               27   files and related records within the Database are insufficient to track the receipt and disbursement of

               28   Debtor funds.

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             1            9.     Froi:n the Other Documents, DSI obtained 68 unsigned tax returns or tax return
            2    related material for 25 entities across 2012-2015. Of the 68 tax files, only three files contained

            3    unsigned federal and state tax packages including work papers for the Debtor for 2012-2014, but are
            4    limited to 75 pages in total across the three years. Only a few tax files were identified in the

            5    Database, but none pertained to the Debtor. Based on DSI's review of the available tax files, there is

            6    not a complete set of tax returns for the Debtor over the last five years.

            7             10.     The Other Documents contain certain bank statements for the Debtor and HK Grace

             8   Building LLC and the Database contains certain other bank account statements. The Debtor's bank

             9   statements which were observed were limited to a single bank account ending in x242 for the period

            10   from July 2012 to April 2015. Overall, the bank statements provided are incomplete. Moreover, the

            11   available QuickBooks records do not sufficiently identify the Debtor's accounts, such that there is no
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            12   way of knowing what additional bank account statements are missing.
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 ...,.:;    13            11.     The Database and the Other Documents are not a complete set ofthe Debtor's books
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 (.!)   ~   14   and records. In my opinion, the Database does not contain sufficient information to account for
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            15   funds received and disbursed by the Debtor during the last two years, much less during the last four
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 u          16   years.
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            17            I declare under penalty of perjury under the laws of the United States of America that the

            18   foregoing is true and correct. Executed this 4th day of October, 2      6 at Los Angeles, California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): DECLARATION OF ERIC HELD IN SUPPORT OF
THE COMMITTEE’S MOTION FOR SUMMARY ADJUDICATION OF DEFENDANTS’ LIABILITY FOR BREACH OF
FIDUCIARY DUTIES AND ACCOUNTING will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 3, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

       Alexandre I Cornelius aicornelius@costell-law.com, ssaad@costell-law.com;mharris@costell-
        law.com;jstambaugh@costell-law.com;ladelson@costell-law.com;jlcostell@costell-law.com
       William Crockett wec@weclaw.com, ksa@weclaw.com
       Gail S Greenwood ggreenwood@pszjlaw.com, efitzgerald@pszjlaw.com
       Jeremy V Richards jrichards@pszjlaw.com, bdassa@pszjlaw.com;imorris@pszjlaw.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       James S Yan jsyan@msn.com

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
                                   , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 3, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

PERSONAL DELIVERY
Honorable Thomas B. Donovan
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1352
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 3, 2016                                 Myra Kulick                                 /s/ Myra Kulick
 Date                         Printed Name                                                    Signature

          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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